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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

TAVIA WAGNER,

      Plaintiff,

v.                                                  Case No. 6:20-cv-1209-RBD-LRH

SAIRAM 300 LLC; and
SIDDHIVINAYAK 620 LLC,

      Defendants.
_____________________________________

                                       ORDER

      In January 2021, the Court ordered Plaintiff to show cause why her

Complaint (Doc. 1) should not be dismissed for lack of prosecution after Plaintiff

failed to move for default judgment against Defendants. (Doc. 28 (“OSC”).)

Plaintiff responded that counsel were attempting to work through their issues but

have been unsuccessful and apologized for the delay in moving for default

judgment. (Doc. 30.) So the Court discharged the OSC and directed Plaintiff to file

motions for default judgment by February 27, 2021. (Doc. 34.) To date, Plaintiff has

not filed motions for default judgment. So the Court dismisses the action for lack

of prosecution. See Local Rule 3.10.

      It is ORDERED AND ADJUDGED:

      1.     Plaintiff’s   Complaint   (Doc.   1)    is   DISMISSED    WITHOUT


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             PREJUDICE for failure to prosecute.

        2.   The Clerk is DIRECTED to terminate all pending motions and close

             the file.

        DONE AND ORDERED in Chambers in Orlando, Florida, on March 4,

2021.




Copies to:
Pro Se Parties




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